CM/ECF-GA Northern District Court                                   https://gand-ecf.sso.dcn/cgi-bin/GANDc_mkmin.pl?994203309531317-...
                      Case 1:18-cr-00098-SCJ-LTW Document 228 Filed 09/08/22 Page 1 of 1




                                 UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF GEORGIA
                                       ATLANTA DIVISION
                                                  1:18-cr-00098-SCJ-LTW
                                                       USA v. Bickers
                                                  Honorable Steve C. Jones

                                Minute Sheet for proceedings held In Open Court on 09/08/2022.


              TIME COURT COMMENCED: 10:00 A.M.
                                                                   COURT REPORTER: Viola Zborowski
              TIME COURT CONCLUDED: 2:00 P.M.
                                                                   USPO: Candice Logan
              TIME IN COURT: 4:00
                                                                   DEPUTY CLERK: Pamela Wright
              OFFICE LOCATION: Atlanta

         DEFENDANT(S):               [1]Mitzi Bickers Present at proceedings
         ATTORNEY(S)                Jeffrey Davis representing USA
         PRESENT:                   Tiffany Dillingham representing USA
                                    Drew Findling representing Mitzi Bickers
                                    Marissa Goldberg representing Mitzi Bickers
                                    Nathan Kitchens representing USA
         PROCEEDING
                                    Sentencing Hearing(Sentencing Hearing Non-evidentiary);
         CATEGORY:
         MINUTE TEXT:               Sentencing hearing held. Oral argument heard. Defendant and supporters
                                    addressed the Court. Sentence imposed: 60 months incarceration as to
                                    Count 1, 120 months as to each of Counts 4-6, 168 months as to Counts
                                    7-10, and 36 months as to Count 12, with all terms to run concurrent for a
                                    total term of imprisonment of 168 months; 3 years supervised release as to
                                    Counts 1, 4-10 and 12, concurrent; $900.00 special assessment;
                                    $2,955,106.51 restitution; voluntary surrender (with additional terms of
                                    bond including location monitoring and home detention). Defendant was
                                    advised of her appeal rights by the Court.
         HEARING STATUS:            Hearing Concluded




1 of 1                                                                                                               9/9/2022, 9:35 AM
